Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 1 of 76

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
CIVIL ACTION

OLUWAROTIMI ODUTOLA,

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9400 Grand BLVD Ste 3547

Largo, MD 20774

Telephone 804-933-8203

Plaintiff,

ROBERT P. FLOYD, III (DC 464996)

and

BRANCH BANKING AND TRUST COMPANY

Constangy, Brooks, Smith & Prophete, LLP

12500 Fair Lakes Circle, Suite 300

Fairfax, VA 22033

Telephone: 571-522-6109

Facsimile: 571-522-6101

Defendants,

Case: 1:21-cv-—03212 JURY DEMAND
Assigned To : Walton, Reggie B.
Assign. Date : 12/8/2021

Description: Pro Se Gen. Civ. (F-DECK)
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 2 of 76

TABLE OF CONTENTS
INTRODUCTION pisesstiitignisnsiscsosscotecsccscevasiasscestsiasesioassnsviseussusccsanattensrssnadsaiascenseusiesnesonsenectatrese 5
JURISDICTION .,scorsessconnessseoneronsesossensceonsonsvenceassnnsineasiinvsusiecssosvsndiuvssbnasuasnsedsubsnsuusiweuseslideniuneviyese 8
PLAIN TIED sessssessesizecesanvtacss poseisssanccvccarcaccuecscvasesnicessuiasinasankanshsaksasnaniakaceannuesanrasianiassaeesnesnanesaeewsaes 8
DEFENDANTS corenersenrsccarsonsrnsponnssenorseponnronsnyensnasasinrsensnnpat nanos viesiaiauaiicns uid tesssassiasubsuasagesnpaes aint 8
RELEVANT FACTS issssistivsseniscnsscisnsegnsasauisisccseviavectscestccsansassocevsssssnasverceconavenentinananionuaseietseaines 8

A. FIRST DEFENDANT IS AN OFFICER OF THE COURT AND HAS A DUTY TO

THE COURT, THE CLIENT, THE PUBLIC AND THE OPPOSING PARTY................. 8
CLAIM FOR RELEEB  sisicsssicossississssscanscascierensseaessesesevasevsnsteasenaiesenshsaatccuensvaccaiasnabiasveséetaesoresctans 11
A. FIRST DEFENDANT BREACHED RULE 3.3 ON CANDOR TO TRIBUNAL ......... 12

B. FIRST DEFENDANT FAILED TO UPHOLD FAIRNESS TO OPPOSING PARTY
AND COUNSEL THUS BREACHED RULE 3.4 OF DISTRICT OF COLUMBIA RULES

OF PROFESSIONAL CONDUCT .........cccccccsssessessssereesenensnerssscensensensssacesnensesacensenasncereunaenace 12

C. FIRST DEFENDANT’S ACTIONS CONSTITUTE A BREACH OF RULE 4.4 OF

DISTRICT OF COLUMBIA RULES OF PROFESSIONAL CONDUCT ..............:cccceeees 14

D. FIRST DEFENDANT’S ACTIONS CONSTITUTE A MISCONDUCT AND THUS
BREACHED RULE 8.4 OF DISTRICT OF COLUMBIA RULES OF PROFESSIONAL

CONDUC E issesassssassncsossnncerecocssiaicenssonsuscaveeteaieasta nes ierccacagigectcnswsssevsiceesueuscietereacstetneaninenvanbrieaans 15
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 3 of 76

Statutes

Pg.
D.C. Code §§ 13-422 and 13-423()........scccssccsccscessecsessssseseesesstsssssessescscnsesccsssossssnssnsenscsuseesscsensaces 7
D.C. Code §11-921 and 28-4507 ..........sscsecssessecosccesscseoeerersssessscoesssceeusnsessessssssssesaesensseessecsssaserenaes 7
Rule 8.5 of the District of Columbia Rules of Professional Conduct............c...cccsscscssssssscseenseressens 7
Regulations

Pg.
District of Columbia Rules of Professional Conduct rule 3.4 ........ccccccccesesssseesessssecneeeetseeeeeseseeeeeees 5
District of Columbia Rules of Professional Conduct rule 8.4 .....c......cccccceessceseesecsteeeeseeeeseesenseseeeene 5
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 4 of 76

Cases

Hazel-Atlas Glass Co. v. Hartford Empire Co 322 U.S. 238 (1944) ciscocsercssscsscsesssencseesesnenens 13
Kupferman v. Consolidated Research & Manufacturing Corp 459 F.2d 1072 (2d Cir. 1972)... 13

Lawyer Disciplinary Board, Petitioner, v. Douglas A. Smoot, Respondent. No. 34724 ........000+ 12
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 5 of 76

COMPLAINT FOR INJUNCTIVE RELIEF, DAMAGES, AND OTHER STATUTORY

RELIEF

Plaintiff Oluwarotimi Odutola (“Plaintiff”), brings this action against Defendants Robert P. Floyd,

Ill (DC 464996) (“First Defendant”) and Branch Banking and Trust Company (“Second

Defendant) for Fraud and violations of the District of Columbia Rules of Professional Conduct,

rule 3.4 on fairness to opposing party and counsel, rule 3.3 candor to tribunal, rule 4.4 breach of

District of Columbia of Professional Conduct. Rule 8.4 on misconduct by the attorney, § 22-3704

of Code of the District of Columbia on Civil action and intentional infliction of emotional distress.

In support of his claims, the Plaintiff states as follows:

1.

INTRODUCTION

The first Defendant is an attorney who in a previous case acted for the Second Defendant.
This complain arises out the First and Second Defendant’s actions in a previous case that
prejudiced the Plaintiff in his case for discrimination, retaliation, harassment and hostile
work environment. On November 6, 2020, the Honorable Judge Royce C. Lamberth in the
case of Branch Banking and Trust Company v. Oluwarotimi Odutola, entered a judgment
dismissing the case for failure to obey orders and failure to prosecute. The plaintiff
subsequently filed a motion for relief from judgment pursuant to Fed. R. Civ. P 60 (b) on
or about 10th June, 2021.

Plaintiff in the motion for relief of judgement submitted that there were relevant factors
which facilitated and ultimately caused the said failure to obey orders and failure to
prosecute. The factors among all the others included the Covid-19 pandemic that directly

affected Plaintiff, his family and his attorney who was unable to proceed with the case due
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 6 of 76

to unexpected illnesses. However apart from this reasons, there also others that involved
fraud and misrepresentation by the First and Second Defendants in that case.

. First Defendant and Second Defendant intentionally and disingenuously fabricated the
documents presented as exhibits in that case by forging and altering them which had false
and fictitious allegations. This was done during the discovery process where the first and
second defendant conducted an eleven hour deposition in Washington, D.C. and during the
deposition the First Defendant presented several documents to Plaintiff and his counsel as
exhibits for Plaintiff to review. The Plaintiff realized that they were fabricated and forged
yet they were produced as exhibits (see exhibits 3,4, 5,2).

. Plaintiff immediately refuted the authenticity of each individual exhibit presented by the
first and second defendant. The Plaintiff informed the court reporter that he wanted to
ensure that it is documented on the record for the courts to know that these documents have
been forged, altered and concocted by the first and second defendant. This was deceiving,
fraudulent and obstructing the court's ability to fairly rule in Plaintiff's case (see exhibit 7,
8,9,10,11,12)

. Plaintiff took the compromised exhibits to a forensic examiner for review and inspection
after the deposition but prior to the court's orders to dismiss his case in November 2020.
Plaintiff was not able to get the results back in time before the order on November 6, 2020
due to unexpected and unprecedented pandemic delays beyond anyone's control. Plaintiff
was not able to get the results back from the examiner until February 2021. Plaintiff was
so infuriated and humiliated by the results he had to get a second opinion from the nations

leading handwriting expert Curt Baggett (see exhibit 1).
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 7 of 76

6. When Plaintiff got the results back from the examiner, he was informed that the documents
had been altered, forged, fabricated and manipulated by the defendants. Plaintiff
recognized and mentioned to the first defendant during the deposition that the handwriting
on the documents looked like Keeya Briscoe (see exhibit 9).

7. During the deposition the first defendant also presented fabricated and altered video clips
as snapshots from the actual video footage as exhibits for review (see exhibit 14). Once
again, Plaintiff immediately identified that the video clips were not from the actual video
recording accurately or in their correct chronological sequential order according to the
video time stamps. The defendant presented the first video image exhibit with the
beginning time of 10:56:04AM and presented the last video exhibit (see exhibit 28) with
the ending time 10:55:54AM. The page numbering of the video exhibits began from
000493-000507 clearly shows how the defendant methodically and purposely manipulated
the sequence of the video images in order to change and distort the true sequence of events
intentionally and deceitfully (see exhibits 14- 28) while also knowing that the Plaintiff had
not seen the actual video footage or been provided the video. Plaintiff and his counsel
immediately called into question the authenticity of the exhibits and pointed out the
inconsistencies with how the exhibits had been misrepresented and altered previously by
means of omitting footages, redacting material evidence and tampering with video
evidence ( see exhibit 31-35).

8. Therefore Plaintiff grounds this complaint on the misconduct of first Defendant as an
officer of the court and second Defendant as the client for they colluded to fabricate,
commit fraud by forgery and tamper with the evidence adduced by Plaintiff which

prejudiced him and obstructed justice to an extent that judgment was entered against him
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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 8 of 76

due to the Defendants actions that denied Plaintiff the ability to fully and equitably litigate

his case.

JURISDICTION

This Court has subject matter jurisdiction over this case pursuant to D.C. Code §11-921
and 28-4507. This Court has personal jurisdiction over the parties pursuant to D.C. Code
§§ 13-422 and 13-423(a) and Rule 8.5 of the District of Columbia Rules of Professional
Conduct that allows the disciplinary authority to hear and determine the dispute in the

respective jurisdiction where the conduct occurred and where the lawyer practices.

PLAINTIFF

Plaintiff Oluwarotimi Odutola initiates this suit in the form of a complaint seeking

injunctive relief, damages and any other statutory relief that this court may deem fit.

DEFENDANTS

First Defendant Robert P. Floyd, III (DC 464996) is an attorney practicing by way of
Constangy, Brooks, Smith & Prophete, LLP located in 12500 Fair Lakes Circle, Suite 300.
Second Defendant Branch Banking and Trust Company, is a company that was the client

represented by first defendant in the previous suit for which this complaint arises from.

RELEVANT FACTS

A. FIRST DEFENDANT IS AN OFFICER OF THE COURT AND HAS A DUTY TO

THE COURT, THE CLIENT, THE PUBLIC AND THE OPPOSING PARTY

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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 9 of 76

First Defendant Robert P. Floyd, II (DC 464996) is an attorney practicing by way of
Constangy, Brooks, Smith & Prophete, LLP located in 12500 Fair Lakes Circle, Suite 300.
This means that he is an officer of the court and has a duty to everyone as mentioned and
must therefore exercise due diligence and avoid engaging in any actions that might
jeopardize his client, the court and the opposing party and thus ultimately obstruct justice.
a. First Defendant Breached His Duty to the Court, the Client, the Public and the
Opposing Party

First Defendant has violated this duty in collusion with Second Defendant and thus placing
Plaintiff at a difficult position where he is prejudiced. As has been submitted, First
Defendant and Second Defendant intentionally fabricated documents presented as exhibits
in that case by forging and altering them which had false and fictitious allegations to derail
the Plaintiffs case. This was done during the discovery process where the first and second
defendant conducted an eleven hour deposition in Washington, D.C. and during the
deposition the First Defendant presented several documents to Plaintiff and his counsel as
exhibits for Plaintiff to review.

Plaintiff took the compromised exhibits to a forensic examiner for review and inspection
after the deposition but prior to the court's orders to dismiss his case in November 2020.
Plaintiff was not able to get the results back in time before the order on November 6, 2020
due to unexpected and unprecedented pandemic related delays beyond anyone's control.

Plaintiff was not able to get the results back from the examiner until February 2021.

16. When Plaintiff got the results back from the examiner, he was informed that the documents

had been altered, forged, fabricated and manipulated by the defendants. The handwriting

on the documents that committed the forgery and alteration looked like the same
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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 10 of 76

handwriting as the second defendant’s manager Keeya Briscoe. Plaintiff recognized and
mentioned to the first defendant during the deposition that the handwriting on the
documents looked like Keeya Briscoe (see exh. 9)

The first defendant and second defendant demonstrated discovery abuse throughout the
discovery process by means of fraud, forgery, intentional misrepresentation and
misconduct. The defendants engaged in misconduct that severely prejudiced Plaintiff's
case during the discovery process in several ways. In November 2018, Plaintiff sent the
defendants a letter of preservation of electronic information through certified mail to notify
the defendants to preserve all relevant documents and information pertaining to this case
in their original copy. Particularly, the video footage that was recorded and saved by the
Defendant from the date of the incident at the bank. Considering how important and critical
that evidence is to this case and to prove the allegations.

The defendant had previously provided the actual video footage to the District of Columbia

police department detective Bemiller prior to the letter from the Plaintiff.

The defendants were completely aware of the civil lawsuit brought against them two years
prior and are completely knowledgeable of the nuances of preserving material evidence for
the purposes of litigation. Jackie Meier, Plaintiff previous counsel, had requested the same
video footage that the Defendant previously provided to law enforcement in the Plaintiffs
request for production of documents during the beginning of the discovery stage to be used
before the defendant's scheduled deposition and as material evidence during discovery.

The defendant purposely withheld the video tape and did not provide the video tape in their

responses to our request for production of documents but instead provided a few selected

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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 11 of 76

video images stills instead that had been tampered and altered. Completely derailing his
attorney’s ability to fully and equitably litigate the case entirely. Upon obtaining his
counsel Mr. Rudasil, during the deposition the first defendant Robert Floyd repeatedly lied
under oath stating that the video footage did not exist and he does not know what happened
to it and he only had a few snapshots from the actual video. The first defendant then
presented the Plaintiff with a series of video clips as exhibits that had been redacted, altered

and had changed time sequences of the events in video footage (see exh. 30-35, 14-28).

Redacted most of the footage and doctored the video snapshots to deceive and manipulate
the authenticity of the original video footage sequence of events. Plaintiff and his counsel
immediately identified the deceptive scheme the defendants counsel tried to carry out and
called in to question the defendant's counsel scheme immediately on the record. The first
defendant’s attorney Robert Floyd after being caught, even agreed after the Plaintiff
counsel vividly demonstrated how the exhibits were changed out of chronological order
(see exh 31-33). Plaintiff repeatedly asked the defendants counsel for the actual video
footage because it was obvious that the majority of the footage had been redacted to suit
the defendant’s scheme. The first defendant kept lying on the record, saying that he did not
know if there was a video tape even though he was using video clips from the actual video

footage as exhibits during the deposition.

CLAIM FOR RELIEF

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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 12 of 76

(District of Columbia Rules of Professional Conduct, rule 3.3 on Candor to Tribunal,
rule 3.4 on fairness to opposing party and counsel, rule 4.4 on respect for rights of
third persons and rule 8.4 on misconduct by the attorney)

Plaintiff incorporates by reference the allegations contained in Paragraphs 1 through 21,

above, as if fully set forth herein.

FIRST DEFENDANT BREACHED RULE 3.3 ON CANDOR TO TRIBUNAL

The First Defendant breached rule 3.3 of District of Columbia Rules of Professional
Conduct on Candor to Tribunal. Rule 3.3 provides that (a) A lawyer shall not knowingly
(4) Offer evidence that the lawyer knows to be false.

First Defendant breached this rule by tampering with the evidence and offering evidence

knowing it to be misrepresented and distorted. In an attempt to equivocate the truth while
lying to conceal and justify their misconduct. Deliberately perpetuating fraud by means of

forgery and fabrication willfully, thus failed to uphold and maintain candor to the court.

FIRST DEFENDANT FAILED TO UPHOLD FAIRNESS TO OPPOSING PARTY
AND COUNSEL THUS BREACHED RULE 3.4 OF DISTRICT OF COLUMBIA

RULES OF PROFESSIONAL CONDUCT

The First Defendant breached rule 3.4 of District of Columbia Rules of Professional
Conduct on failing to show fairness to opposing party and counsel. Rule 3.4 of District of

Columbia Rules of Professional Conduct provides that A lawyer shall not:

12
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 13 of 76

a. Unlawfully obstruct another party’s access to evidence or unlawfully alter, destroy or
conceal a document or other material having potential evidentiary value. A lawyer shall
not counsel or assist another person to do any such act;

b. Falsify evidence, counsel or assist a witness to testify falsely, or offer an inducement
to a witness that is prohibited by law;

26. In the present case, the first defendant failed to uphold this duty and unlawfully obstructed
Plaintiff's access to evidence and unlawfully altered, and concealed a document having
potential evidentiary value. The first Defendant tampered with evidence by intentionally
presenting certain selected video image stills from the actual video footage. Which
misrepresented that actual sequence of events by purposely switching the images
chronological order according of the video time stamps from later to earlier to deceive and
distort the video. The first defendant also redacted and purposely omitted the remaining
images in order to hide and conceal the true sequence of events in order to deceptively
disprove the Plaintiffs testimony while purporting their false narrative. The defendant did
not accidentally take selected video images off a twelve minute video recording and then
mistakenly present the images out of chronological order. Especially since the purpose of
the video evidence was to depict the true sequence of events that occurred on that day in
order to corroborate the Plaintiffs testimony. This is by no means an accident or mistake,
because the Plaintiff and Plaintiffs’ counsel had not previously seen the actual video
footage prior to the depositon. The first defendant and second defendant both had
possession of the video and have seen the actual video footage. Therefore the defendants
both knew without a shadow of a doubt the true sequence of events; and that’s why they

had to tamper with and alter the video evidence and had to purposely withheld the video

13
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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 14 of 76

from the Plaintiff by only providing altered snap shots video images as exhibits instead of
the actual video footage. The Plaintiff and Plaintiffs counsel relied solely on those exhibits
presented by the defendant in absence of the actual video. The defendants demonstrated
misconduct by exploiting that opportunity willfully, deceitfully and by discovery abuse.
Had the Plaintiff been provided with the video footage as previously request during
discovery and before the deposition, the defendants would not have been able to
misrepresent the video images or alter them. The defendant also falsified and altered
evidence as submitted by the allegations from paragraph 1 to 22 of this complaint by
forging, altering and fraudulent misrepresentation (see exhibit 1). The Plaintiff thus claims
for relief from this breach that has obstructed his justice. In Lawyer Disciplinary Board,
Petitioner, v. Douglas A. Smoot, Respondent. No. 34724. The court held that a lawyer shall
not unlawfully obstruct another party's access to evidence or unlawfully alter, destroy or
conceal a document or other material having potential evidentiary value. A lawyer shall
not counsel or assist another person to do any such act. The defendant engaged in
misconduct by improperly withholding video material having evidentiary value and fraud

which conduct consequently had a significant prejudice effect on the legal proceeding.

FIRST DEFENDANT’S ACTIONS CONSTITUTE A BREACH OF RULE 4.4 OF

DISTRICT OF COLUMBIA RULES OF PROFESSIONAL CONDUCT

The First Defendant breached rule 4.4 of District of Columbia Rules of Professional on
Respect for Rights of Third Persons. Rule 4.4 provides that in representing a client, a

lawyer shall not use means that have no substantial purpose other than to embarrass, delay,

14
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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 15 of 76

or burden a third person, or knowingly use methods of obtaining evidence that violate the
legal rights of such a person.

The First Defendant through their misconduct and extrinsic fraud in fabricating evidence,
providing false and misleading statements and withholding evidence violated this rule. The
first defendant and the second defendant are both complicit by purposely withholding
evidence which is considered bad faith litigation, lying under oath repeatedly by subverting
the truth and compromising the integrity of the discovery process. Embarrassing and
burdening the Plaintiff by concocting fabricated, forged and misrepresented documents to
compromise and destroy the Plaintiffs credibility and testimony. The first and second
defendant also violated the legal rights of the Plaintiff by illegally tampering with physical
evidence and illegally forging multiple documents to embarrass, humiliate and denigrate
the Plaintiff by derailing and delaying his case. Inflicting a huge burden on the Plaintiff
financially, mentally, emotionally and psychologically. Delaying the discovery process and
derailing the case due to the Plaintiff having to utilize due diligence to prove the truth and
expose the defendants heinous misconduct which caused huge delays and time. Therefore
first defendant being an officer of the court clearly breached this rule which violated the

rights of the Plaintiff.

FIRST DEFENDANT’S ACTIONS CONSTITUTE A MISCONDUCT AND THUS
BREACHED RULE 8.4 OF DISTRICT OF COLUMBIA RULES OF

PROFESSIONAL CONDUCT

29. Rule 8.4 of District of Columbia Rules of Professional Conduct provides that It is

professional misconduct for a lawyer to:

15
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 16 of 76

a. Violate or attempt to violate the Rules of Professional Conduct, knowingly assist or
induce another to do so, or do so through the acts of another.

b. Commit a criminal act that reflects adversely on the lawyer's honesty, trustworthiness
or fitness as a lawyer in other respects;

c. Engage in conduct involving dishonesty, fraud, deceit or misrepresentation;

d. Engage in conduct that is prejudicial to the administration of justice;

30. The First Defendant violated Rules of Professional Conduct in collusion with second
defendant by tampering with evidence and thus obstructing justice. The First Defendant
violated the Rules of Professional Conduct knowingly, assisted and through the acts of the
second defendant by presenting fraudulent exhibits that were proven to be forged and
altered as authentic. While also presenting and misrepresenting altered video image stills
to distort the facts. The first defendant used persuasive deceptive rhetoric and cunning
gamesmanship to convince and mislead the Plaintiff into believing the exhibits were not
fraudulent when in fact the defendant knew they were. The first defendant also violated the
rules by committing and willfully facilitating a criminal act of forgery, fraud and tampering
with evidence in collusion with Second Defendant. The first defendant candidly
exemplified in full display dishonesty, fraud, deceit and misrepresentation which was not
only prejudicial to the administration of justice but caused severe mental anguish and
further exacerbated the psychological side effects of PTSD previously caused by the
second defendant. The first defendant proceeded to make their case knowing very well that
they had engaged in dishonesty, fraud, deceit and misrepresentation. In Hazel-Atlas Glass

Co. v. Hartford Empire Co 322 U.S. 238 (1944), the court stated that

16
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 17 of 76

Furthermore, tampering with the administration of justice in the manner
indisputably shown here involves far more than an injury to a single litigant. It is
a wrong against the institutions set up to protect and safeguard the public,
institutions in which fraud cannot complacently be tolerated consistently with the
good order of society. Surely it cannot be that preservation of the integrity of the
judicial process must always wait upon the diligence of litigants. The public welfare
demands that the agencies of public justice be not so impotent that they must always
be mute and helpless victims of deception and fraud.

31. In Kupferman v. Consolidated Research & Manufacturing Corp 459 F.2d 1072 (2d Cir.
1972), the court stated that while an attorney “should represent his client with singular
loyalty that loyalty obviously does not demand that he act dishonestly or fraudulently; on
the contrary his loyalty to the court, as an officer thereof, demands integrity and honest
dealing with the court.” And when he departs from that standard in the conduct of a case
he perpetrates a fraud upon the court.

32. The first defendant Robert Floyd candidly mentioned in their Opposition To The Plaintiffs
Motion For Relief From Judgement. That, the Plaintiff makes numerous false claims of
fraud, misrepresentation, fabrication or alteration and/or forgery against Defendant and
Defendants counsel. Despite the false and outrageous nature of Plaintiff allegations, he
also failed to provide a single supporting affidavit (see exhibit 50). Reference to; (see
exhibit 1)

33. The defendants counsel also boldly made assertions in their opposition motion stating,

These serious and false allegations are all without a single shred of evidence or other

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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 18 of 76

support beyond Plaintiffs on speculation, conspiracy theories and conjecture (see exhibit
350).

These cynical and mendacious comments demonstrate how willingly and blatantly the
defendant is willing to lie to the courts and in order to undermine the courts integrity to
fairly rule on this case while the Defendant willing and continually obstructs the judicial
process with false statements to undermine the courts. Further questioning his
trustworthiness and fitness as an attorney in this case.

The defendants have clearly demonstrated misconduct and extrinsic fraud by fabricating
evidence, providing false and misleading statements and withholding evidence. The first
defendant and the second defendant are both complicit by purposely withholding evidence
which is considered bad faith litigation, lying under oath repeatedly to the Plaintiff by
subverting the truth and compromising the integrity of the discovery process.

The defendants have thus demonstrated misrepresentation and fraud by committing fraud
on the basis of knowingly providing false statements, forged and altered documents to the
courts with the intent to deceive and derail this case.

The above-described acts and practices of Defendants have prejudiced and will likely
continue to prejudice the Plaintiff as they have caused mental anguish and distress for the
Plaintiff including resources and costs deployed to unearth their misconduct that obstructs
justice.

Unless the Defendants are made to pay for their misconduct and restricted from engaging
further in the acts and practices complained of herein, the continued activities of the
Defendants will result in irreparable injury to the Plaintiff for which there is no adequate

remedy at law. The Defendants’ illegal actions of tampering with evidence and engaging

18
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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 19 of 76

in fraudulent acts and misrepresentation, violates his rights as protected by the law and the
need for justice for all.

DEFENDANTS COMMITTED FRAUD THROUGH FRAUDULENT
MISREPRESENTATIONS

The defendants committed extrinsic fraud by fabricating evidence, providing false and
misleading statements and withholding evidence. The defendants are both complicit by
purposely withholding evidence which is considered bad faith litigation, lying under oath
repeatedly by subverting the truth and compromising the integrity of the discovery process.
The defendants have committed fraudulent misrepresentation on the basis of knowingly
providing false, forged and altered documents to the courts with the intent to deceive and
obstruct the judicial process. The defendants knowingly made several false statements in
reference to the video material facts and forged exhibits with the intention of deceiving the
Plaintiff The Plaintiff took action in reasonable reliance upon the statements by the
defendants and therefore suffered multiple damages legally, financially and
psychologically. The examiners report by Curt Baggett shows by clear and convincing
evidence that the exhibits were forged, altered and fabricated and the defendant knowingly
made several intentional false statements to subvert the truth (see exhibit 7, line 10; exhibit
8, line 12-13; exhibit 12, line 2-3). The video tape footage provided to the Plaintiff by the
Freedom Information Act FOIA after the deposition shows the true sequence of events and
clearly and convincingly proves that the defendant continued to make false statements
regarding the video exhibits and fraudulently misrepresented them (see exhibit 40-42), (see

exhibit 30-33).

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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 20 of 76

The defendants heinous actions and deliberate misconduct caused untimely delays in order
to uncover their deceit and prevented the Plaintiff and Plaintiffs attorney from presenting
my case fully and fairly. Thus, spending time and resources to uncover the fraud which
prevented the Plaintiff from reaching a fair and just settlement offer during negotiations.
Completing discovery in a timely manner without having to get expert witnesses during a
pandemic. Plaintiff had to recuse his previous counsel Jackie Meier which costed him time
and huge financial costs hindering him from properly financing his case with his present
attorney and paying personal expenses. The Plaintiffs attorney granted the defendant time
to take a break from the case to deal with a family loss which was preventing the defendants
counsel Robert Floyd from working the case due to the emotional toll he faced. Plaintiff
would have not granted the defendants counsel a break but instead would have motioned
for sanctions to be granted by default summary judgement based on bad faith litigation for
forgery, fraud and misconduct.

To plead a claim of fraud under District of Columbia law, a plaintiff must plead that: The
defendant made: — a false statement of material fact; — with knowledge of its falsity; and —
with the intent to deceive. The plaintiff: — relied on the representation; and — suffered
damages. (Chedick v. Nash, 151 F.3d 1077, 1081 (D.C. Cir. 1998) (applying District of
Columbia law); In re U.S. Off. Prods. Co. Sec. Litig., 251 F. Supp. 2d 77, 100 (D.D.C.
2003) (applying District of Columbia law); Hercules & Co. v. Shama Rest. Corp., 613 A.2d
916, 923 (D.C. 1992).).

The defendants knowingly provided false and altered documents to the courts with the
intent to deceive and obstruct the judicial process. This amounts to fraud. A material

misrepresentation actionable in fraud must be consciously false and intended to mislead

20
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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 21 of 76

another (Sarete, Inc. v. 1344 U St. Ltd. P’ship, 871 A.2d 480, 493 (D.C. 2005)). A literally
true statement that creates a false impression can be actionable in fraud
(Jacobson v. Hofgard, 168 F. Supp. 3d 187, 196 (D.D.C. 2016) (applying District of
Columbia law); Remeikis v. Boss & Phelps, Inc., 419 A.2d 986, 989 (D.C. 1980);
Restatement (Second) of Torts § 529). The defendants knowingly intended to mislead the
court by tampering with evidence and fabricating evidence and thus this prejudiced
Plaintiff.

To satisfy the reliance element of fraud in the District of Columbia, a plaintiff must plead
with particularity which statements the plaintiff relied upon and which actions it took in
response. The plaintiff's reliance must be a substantial factor in the injury suffered.
(Parr v. Ebrahimian, 70 F. Supp. 3d 123, 129 (D.D.C. 2014) (applying District of Columbia
law); Wu v. Stomber, 883 F. Supp. 2d 233, 273 (D.D.C. 2012) (applying District of
Columbia law); Stancil v. First Mount Vernon Indus, Loan Ass’n, 131 A.3d 867, 876 (D.C.
2014).). The Plaintiff and Plaintiffs attorney in this case relied on the fabricated forged
evidence and most importantly the misrepresented video exhibits. Causing extreme delays,
distortion of material facts and derailed the legal process causing irreparable damages to
the Plaintiff. The defendants knowingly attempted to obstruct the justice process by fraud
and misrepresentation .

DEFENDANTS INTENTIONALLY INFLICTED EMOTIONAL DISTRESS UPON
PLAINTIFF

The Defendants through their actions of fraudulent misrepresentation and tampering of
evidence placed Plaintiff in a prejudiced situation that caused financial losses, emotional

losses and mental distress. The Plaintiff had to suffer the consequences of Defendants

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47.

Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 22 of 76

intentionally trying to hijack the justice process by altering and tampering of evidence and
further fabricating available evidence to distort the whole situation at the expense of the
Plaintiff. A claim for intentional infliction of emotional distress requires that a person
subjected another person to extreme and outrageous conduct and that such conduct
intentionally or recklessly caused the other person to suffer severe emotional distress.

The Code of the District of Columbia, § 22-3704. Civil action, stipulates that Irrespective
of any criminal prosecution or the result of a criminal prosecution, any person who incurs
injury to his or her person or property as a result of an intentional act that demonstrates an
accused’s prejudice...designated act shall have a civil cause of action in a court of
competent jurisdiction for appropriate relief, which includes: Actual or nominal damages
for economic or non-economic loss, including damages for emotional distress; Punitive
damages in an amount to be determined by a jury or a court sitting without a jury; or
Reasonable attorneys’ fees and costs. The defendants intentionally engaged in acts that
inflicted emotional distress on the Plaintiff as tampering with evidence and obstructing the
process of justice was tedious for the Plaintiff as he had to fight to overcome the adversity
brought by prejudice caused by Defendants’ actions. Therefore Plaintiff claims damages
for intentional infliction of emotional stress by Defendants.

The first defendant and second defendant subjected the the Plaintiff to extreme and
outrageous misconduct leading up to and during the deposition. First, the second defendant
and manager Keeya Briscoe horrendous actions of discrimination, harassment, retaliation,
hostile work environment and receiving a death threat on the job were what initially
brought about the lawsuit in 2018. The harassment from his manager and the death threat

on the job is what led to the Plaintiff being diagnosed with PTSD (see exhibit 52-55). The

22
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 23 of 76

Defendant also violated Rule 30 (d) (1) which states that a deposition is limited to 1 day
and 7 hours. The defendant conducted an eleven hour grueling deposition that was designed
to embarrass and undermine the Plaintiff character using unscrupulous and unethical
tactics. The first defendant and second defendant subjected the Plaintiff to extreme and
outrageous conduct by illegally forging his signature, initials and altering dates on multiple
exhibits concocted for the purpose of humiliating, insulting and undermining his credibility
in the case. The Plaintiff vehemently called into question each fraudulent exhibit that the
defendant presented and pointed out that they were forged, altered and fabricated. {see
1,2,3} The defendant constantly made false statements to downplay the serious nature of
the fraud in a cynical fashion in order to push their narrative. The defendant was not aware
that the Plaintiff would later have the exhibits examined by a forensic examiner to prove
the fraud. The first and second defendants misconduct was not only illegal and offensive
but extremely egregious and detrimental to the Plaintiffs pursuit for justice. The fabricated
documents and the misrepresentation of the video images were so detrimental to the
Plaintiff, that it caused distrust and issues for the Plaintiffs first attorney Jackie Meier to
the extent that she had to be recused by the Plaintiff for irreconcilable differences in he
middle of the case ( see exhibit 57). This caused a huge financial burden on the Plaintiff
being that he was paying out of pocket by the hour and already spent twenty-two thousand
dollars. The Plaintiff ended up getting sued by Jackie Meier for an additional nine thousand
which totaled over thirty thousand dollars due to the misconduct by the defendant. The
Plaintiffs second attorney James Rudasil had a more difficult time fully and properly
litigating the case due to the deceitful scheme facilitated by the defendant which distorted

and obstructed the facts of the case during the deposition.

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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 24 of 76

To make matter worse, the defendant demonstrated the most egregious act by knowingly
and intentionally misrepresenting the video image stills taken from the actual video
footage. Once again, the defendant obstructed the discovery process by illegally tampering
with physical material evidence and presenting them as exhibits. This is extreme and
outrageous conduct because the video footage was pertinent material evidence in this case.
Being that, the Plaintiff and Plaintiffs attorney James Rudasil had not yet had a chance to
see the actual video footage prior to the deposition because the defendant refused to provide
it to them. The only recollection of the sequence of events the Plaintiff had were the video
clips the defendant doctored and fabricated and his own testimony. The defendant
meticulously selected specific video images from the video that they wanted to show while
redacting and omitting the rest of the video images in order to obstruct and depict their
narrative of sequence of events. Lastly, the defendant disingenuously switched the
chronological order of the video images according to the time stamps on the video images
from later to beginning to portray an inaccurate sequence of events contrary to the actual
video footage and testimony of the Plaintiff.

The deposition was humiliating and frustrating which caused the Plaintiff extreme burden -
financially, psychologically and legally. The Plaintiff already was diagnosed with PTSD
due to the incidents that happened to him caused by the second defendant for harassment,
retaliation, discrimination and hostile work environment. Not to mention, the perpetrator
that threatened to kill him on the job which brought about the civil suit (see exhibit 52).
The first defendants outrageous conduct further exacerbated the symptoms of PTSD,
inability to sleep, anxiety, hopelessness, emotional trauma and mental anguish. The

financial legal burden caused the Plaintiff to be displaced due to not being able to pay rent

24
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 25 of 76

due to being sued and the enormous legal costs associated. The Plaintiff continues to suffer
from the defendant actions and is affected in all facets of his life including his current
employment and everyday life up until this very moment causing him having to go on
disability leave for several months at a time in order to cope. The first and second
defendants conduct was very egregious and no person would consider it acceptable in

society.

PRAYER FOR RELIEF

50. Plaintiff respectfully requests that this Court, as authorized by statute and its own equitable
powers, enter final judgment against Defendants and:

a. Adjudge and decree that Defendant’s actions constitute
unfairness to opposing party and counsel and misconduct in
violation of the District of Columbia Rules of Professional
Conduct, rule 3.3 on Candor to Tribunal, rule 3.4 on fairness to
opposing party and counsel, rule 4.4 on respect for rights of third
persons and counsel and rule 8.4 on misconduct by the attorney.

b. Adjudge and decree that the Defendants acted in a manner that
obstructs justice

c. As needed, enter such relief to remove any ability of the
Defendants to harm other parties by disadvantaging them due to
their misconduct and tampering of evidence, including but not
limited to structural relief as well as effective, monitorable, and

measurable conduct remedies that eliminate the ability of

25
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 26 of 76

Dated:12-07-2021

Defendants to continue to engage in further misconduct that

obstructs justice.

. For compensatory damages for all damages sustained as a result

of Defendants’ wrongdoing and imputed wrongdoing
(including, inter alia, all expenses utilized, pain, mental
suffering, mental anguish etc.), in total amount of $47,000,000
(forty-seven million dollars) to be proven at trial, plus interest

thereon;

. For punitive damages in an amount to be determined at trial;

For interest compensation, and damages, including pre- and

post-judgment interest and an upward adjustment for inflation;

. Award to Plaintiff any other equitable relief as the Court finds

appropriate to redress Defendants’ violations of the laws

specified above.

Respectfully submitted

26
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 27 of 76

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Oluwarotimi Odutola

 

9400 Grand BLVD Ste 3547
Largo, MD 20774
Telephone 804-933-8203
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 28 of 76

CERTIFICATE OF SERIVCE

I CERTIFTY that on December 7, 2021, the Complaint was served to the defendant at the following
address by United States mail, postage

Robert Floyd

Constangy, Brooks, Smith & Prophete, LLP
12500 Fair Lakes Circle, Suite 300

Fairfax, VA 22033

Constangy, Brooks, Smith & Prophete, LLP
C T Corporation System

4701 Cox RD Ste 285

Glen Allen, VA 23060

Branch Banking & Trust Company
Truist Investment Services

1090 Vermont Avenue NW
Washington, DC 20005

Chon. Ochi

Oluwarotimi Odutola

9400 Grand BLVD Ste 3547
Largo, MD 20774
Telephone 804-933-8203
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Branch Expectations

i. Vacation should be given 3 weeks in advance. Subject to
management approval and AOO approval.

2. Doctor visits should be given 3weeks in advance with
adequate staffing. Mondays and Fridays, no appointments
should be scheduled, if at ali possible. Subject to management
approval. .

3. If you are going to be late please text or call management no
later than 15 min before scheduled time.

4. If you are sick please call management after 7:00 am or an
hour before your start time. Please ensure that ALL duties have
been communicated to the proper person.

5. If you need to leave early or come in late, please notify
Manager as soon as possible, even if management is not in the
office. This will be subject to management approval. If possible,
please find coverage. This will be your responsibility.

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Odutola v. BB&T
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ExHeiT -21-cv-03212-RBW Document1 Filed 12/08/21 Page 30 of 76
Sa

 

we
Progress Update Sheet

o
(based on steps of formal coaching) J ( 6\?
Name: Tim Odutola Date: 03/07/2016

Progress and follow up on action plan since last session: (step 2)

This is a verbal warning. On 11/06/2015, it was communicated to Tim that if an
associate was sick, they would need to call management after 7:00am or an
hour before there start time and let management know the situation. However,
on 03/07/2016 Tim texted ML at 5:10am and said that he was sick and was not
coming in. Tim did not follow the proper procedures as to notify

management.

 

 

 

 

Focus Area: (step 4)

Based on your preparation from reports, list focus for immediate improvement and additional focus
areas for month.
Going forward Tim should call management after 7:00am or an hour before

start time and inform management of illness. If Tim fails to do so, this could
result in an unexcused absence.

 

 

 

 

Create Action Plan : (step 5)

Use focus areas from above, add details (how much, of what, by when), and include your
interaction/support.:

Going forward Tim should follow the procedures of the branch and BB&T. It is
not acceptable to send a text to your ML stating that you are sick. The proper
procedure is to call management and if needed, discuss any arrangements with
associates and clients that might need to take

 

 

 

 

 

 

 

 

 

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Progress Update Sheet / gine
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0:
(based on steps of formal coaching) C |?
Name: Tim Odutola Date: 03/8/2016

Progress and follow up on action plan since last session: (step 2)
Branch Bankers are responsible for attending training classes and completing

their Computer-based training. These CBT have to be completed before the due
date. You have 30 days to complete them. Tim has been asked on several
occasions to complete the CBT’s on time. Tim has allowed many of his CBT’s
become overdue more than 30 days. CBTs must be completed on time for
compliance purposes.

 

 

 

 

Focus Area for month: (step 4)
Based on your preparation from reports, list focus for immediate improvement and additional focus

areas for month.
Every month when Tim receives notification of CBTs. Tim should complete all

courses before the due date.

 

 

 

 

Create Action Plan for month: (step 5)

Use focus areas from above, add details (how much, of what, by when), and include your
interaction/support.
On a monthly basis, CBT courses should be completed on time. If courses are

not completed on time, Tim should have a conversation with the ML and an
action plan.

 

 

Waa aie

 

 

 

 

 

 

      
 
 

Tne Forgan & VIAN ne
J C please wake Me foe)
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0. py BE Cattered date from & to 8.
[Coach’s Support] Aaeduntiivsy Fens dake fe er

  

 

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Progress Update Sheet

Name: Tim Odutola Date: 06/15/2016

Progress and follow up on action pian since last session: (step 2)

New accounts should not be opened for clients that have charge-off accounts
with us. If the client would like to open a new account they must pay off their
charge-off and the associate must obtain approval from an AOO team lead
before proceeding with new account opening. If the new account is approved
then the associate must put notes in the system.

 

 

 

 

Focus Area for month:
Based on your preparation from reports, list focus for immediate improvement and additional focus

areas for month.
Charge-off accounts are a risk to the bank. So, operations has put this in place

to that there will not be additional loss. You have not followed this procedure,
so going forward you must follow the steps above.

 

 

 

 

Create Action Plan for month: (step 5)

Use focus areas from above, add details (how much, of what, by when), and include your

interaction/support.s
Consistently, follow the steps above.

 

 

 

 

 

 

[Coach's Support]

 

__If you need any assistance determining an account is charge-off, please
consultant your ML, AOO or the BB IV.

Empl. Date G7 i: Sf b

 

   
  

 

 
 

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Transcript of Oluwarotimi Mobalaji Odutola
Conducted on December 17, 2019 112

(me) a Somebody forged this date, so I can't.-- I
believe it was --—

{ der) Q How do you know it was forged?

(“e) A Because that's not my signature.

(d@=) Q But nobody is saying it's your signature.
I'm not saying it's your signature.

(me) A But that -- that -- I mean, not the
signature. That date, that's not my handwriting so
that can't correlate with my signature. I can't --

DER Q So the fact that that date wasn't written by

 

 

you you're saying makes it inconsistent that it was

 

signed on that date? K That 38 consideved FRAUD 4
— = fabrication, alteraRin of docuntut. fi
(rs) A Absolutely. I don't know this could have

 

been a policy from 2012. TI don't know. I can't

attest to tha . That's not my signature and 1 I
would like that_to go on record. #7 , ~ Lingenteonc | d)5

Q That's not your --

 

A No. I mean, it's my signature, but that's
not my handwriting for the date. So then, also, I
would like to see the original copy of this because
this is a photo copy. You can forge a signature.

BBsT has been very inconsistent with a lot of K. > : k

 

 

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Transcript of Oluwarotimi Mobalaji Odutola
Conducted on December 17, 2019 115
1 here. I'm not sure exactly. They are -- I'll
2 represent to you that these -- this is a copy of the
3 associate handbook with representative pages that
4 I'll discuss with you. Take your time.
5 A I just missed what you were saying. So I
6 just -~ I can't -- what did you just say?
7 © OT What do you have an issue with?
8 (me) A That really bothers me that they would have
a", a date on there that I didn't sign. Jdon't
10 understand why somebody else is putting a date on a

 

11 | document. . (Delendnct is comple: |
12 (pe) Q Why is that a -- what's wrong with that? pod
oD

 

 

vo 13 | Tell me why you think something is wrong with that? 7 |

 

 

rain 14{m—) A Because if -- because if you sign’ SS sod
Hy . . . mir Inary
g-- f al
2a 15 | something -- first of all, if you look at all the Ie
Defondnust: 16 | documents that I've signed, I'm sure you can see g\}winyg J
17 | that my signature and the date is consistent. The oi

18 | fact that this is a photocopy and then my signature
19 | is placed there -- yes, that is my signature, but I
20] don't know if it's my signature for this document.
21 And then that's not my handwriting for that

22] date. That's inconsistent. And that leads me to
a . ——

 

   

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CF Transcript of Oluwarotimi Mobalaji Odutola
Conducted on December 17, 2019 200

1 Q And so this was another verbal warning?
2 A Yeah. I remember us having a discussion
3 about this, but I don't recall signing this.
4 Q Okay. But you said that is your signature?
5 A That's my signature, but I would have signed
6 on the line just as consistent with the -- all the
7 other documents I signed.
8 Q Okay.
9 Fea A Again, I don't understand why -- first of

10 | all, I don't put a circle around my signature like
=

11] that. Why would I -- I wouldn't sign over here.
ey oe

12 | She was a stickler about these things about signing

 

13 | and dating. She was very -- and again, that's also
14 | not my -- again, as you can see, this is not my --

15 | that's not my handwriting as far as with the date.

 

 

 

16 | That's her -- that's Keeya's, and it looks like she
ES pennateteerppemenennsit eee
17 | altered it. Looks like a 3/8 -- looks like it was a
TD Z
Meri 18 | six and_she made it into an eight.

 

ee
3, wiscordutt9 per’) Q She is talking about a situation that
NM

20 | occurred on March 7th, right?

21 (vc) A Yeah. But you can clearly see that it was aye

 

22 | six and she altered it so it would be an eight Sr

 

   

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yr FP oO 6 Oo I GB HO &® W DY F OC

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Transcript of Oluwarotimi Mobalaji Odutola
Conducted on December 17, 2019 201

 

QF), Right. For some suspicious reason, are you
suggesting?
(me) A I don't recall signing this document.

Q ‘But you recall a situation --

A TI recall her speaking to me about it, and
she said it wasn't a big issue because I text you at
5 a.m. -=

Q So you got a verbal warning?

A She didn't tell me I was getting a verbal

warning. msleoctina, arg’
oe: Q You got a verbal warning. It's sitting in dou
+b ox

front of you.

(10° A I see. But I never saw this document.

 

‘Pee)Q Well, your signature is on it?
a
(te) A Yeah. And also there's a date on here.
(De) Q Okay.
(me) A Fine.
—
IOce)o Your signature is on the document? £- Deceivird)
= pris\endivg Stete
(me) a I didn't put it there. wuospgly te be Clad -.
(pep> Q You didn't put that signature on there?

cme) A No. Just like that date is not mine either.

 

(per) @ That's fine, the date is not yours. But the

 

   

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Transcript of Oluwarotimi Mobalaji Odutola
Conducted on December 17, 2019 202

 

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oOo © JF HH OF SF WW BBD

Be FP FP SP Be
» W NH F ©

wih
ae yy 18 |(we) A No, 1 donot.

19 (De®) © Is that not your signature on the bottom?

20 |(Qm@) A That's her signature in the employee's -~

 

(ime) A No. The last one doesn't have a circle n

around it. This one has a circle around it.
around +

(mé) A I -- it depends. But I did not sign over

(per) Q I've handed you what's been marked as

    
   
     
    
   
  
 
   
   
  
  
 

signature, it looks exactly like the signature on

the last one.

 

e Foyed

 

—

Q If we find another one with a circle around

it, you would concede that's your signature?

here. She was -- Keeya was a stickier -- she was
very tactful. I will say that. She was a stickler
about signing on things and dating. That's not my :
signature and that's an altered date. - bet. |
ee late. — Def oe ad dele

(Exhibit 11 was marked for identification ted

and is attached to the transcript.)

Exhibit 11, progress update sheet, dated March 8th.
Let me know when you've had a chance to review it.

Do you recognize this document?

where the employee is supposed to sign; and again,

that's not my handwriting. x Falcatecd muAhiole Acoma
isan K ‘

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Transcript of Oluwarotimi Mobalaji Odutola
Conducted on December 17, 2019 208

ME) A It's altered. That's not an 8. That's a 6.

——

per) Q Okay. Well, it looks like an 8 to me, and

it says 8 at the top, correct?

 

 

 

 

(i) A She changed it. Hatt. . Making, st
? ; > he Enews to be Colse.
PEF) 2 Does it say 8 on the top? SED vans

(we) A It may say it_on t , but this is an FoRaey
altered -- that's an altered date and anybody could
a _ = So

wo OD AF KH OO FSF WD DN F

(pee) Q Even if it's March 6th -- let's say it's
10 | March 6th since that seems to be important to you,

11] had you completed your training by March 6th? ae

12 A Yes, I believe so. Bad rt
Litig otis -

13 Q You believe so or you did?

14 A Yes, I did.

15 Q So why would she send this to you?

16 A This was sent out on March the lst. This

17 | stating that I didn't completely training was sent
18 |. out on March the lst. And this it -- this progress
19 | write-up is on March the 6th.

20 Q Well, her email to you is per our

21] conversation all past due CBT should be completed;

22 | and that's dated March 2nd, then, right?

 

   

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Ex tG6P P:21¢-03b12-RBW Document 1 Filed 12/08/21 Page 39 of 76

Handwriting Expert, LLC
Curt Baggett

Expert Document Examiner
533 Park Lane
Richardson, Texas 75081
Phone: 972.644.0285
cbhandwriting@gmail.com
www.ExpertDocumentExaminer.com

 

Questioned Document Examiner Letter

Subject: Tim Odutola
Date: September 23, 2021

I have examined five (5) documents with the known initials and signatures of Tim Odutola. For
the purpose of this examination J have labeled these exhibits ‘K1” through ‘K5’.

Today I have compared the initials and signatures of Tim Odutola on the *K’ documents to the
Tim Odutola signature, handwritten dates and initials on the questioned documents, identified
herein as ‘Q1’ through ‘Q4’, to determine if the author of the Tim Odutola initials and
signatures on the ‘K’ documents was the same person who authored the name of Tim Odutola,
the 2 handwritten dates and the initials of Tim Odutola on the questioned documents: ‘Q1’ and
‘Q2’: Branch Expectations letter with Five numbered statements ‘QI’ is the purported
signature of Tim Odutola and ‘Q2’ is the handwritten date of 11/6/2015 at the top right of
the page. ‘Q3’ and ‘Q4’: Progress Update Sheet with a typed date on top right corner of
03/07/2016. ‘Q3° is the handwritten date at the bottom, which appears the number 6 was
altered into the number 8: 3/8/16 and ‘Q4? is the purported initials of Tim Odutola on the
bottom right of the page.

An examination of handwriting includes establishing patterns of writing habits to help identify
the author. Handwriting is formed by repeated habits of writing by the author, which are created
by neuro-pathways established in the brain. These neuro-pathways control muscular and nerve
movement for writing, whether the writing done is by the hand, foot or mouth.

In support of my opinion, I have included an excerpt from Handwriting Identification, Facts and
Fundamentals by Roy A. Huber and A.M. Headrick (CRC Press LLC, 1999, pp 50-51) wherein
the leading forefathers of document examination in the USA agree that one significant difference
in the fundamental structure of a writing compared to another is enough to preclude common
authorship:

[Ordway] Hilton stated: “It is basic axiom of identification in document problems that a
limited number of basic differences, even in the face of numerous strong similarities, are

controlling and accurately establish nonidentity.”

[Wilson R.] Harrison made similar comments: “...the fundamental rule which admits of
no exception when handwritings are being compared. ..is simple — whatever features two

QDE Letter: Tim Odutola
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 40 of 76

specimens of handwriting may have in common, they cannot be considered to be of
common authorship if they display but a single consistent dissimilarity in any feature
which is fundamental to the structure of the handwriting, and whose presence is not
capable of reasonable explanation.”

[James V.P.] Conway expressed the same theme when he wrote: “A series of
fundamental agreements in identifying individualities is requisite to the conclusion that
two writings were authored by the same person, whereas a single fundamental difference
in an identifying individuality between two writings precludes the conclusion that they
were executed by the same person.”

and finally,

[Albert S.] Osborn and others have generally agreed that despite numerous similarities in
two sets of writings, a conclusion of identity cannot be made if there is one or more
differences in fundamental features of the writings.

The techniques promulgated by the scientific community in the forensic document examination
field generate reliable results and are generally accepted.

Based upon thorough analysis of these items, and from an application of accepted forensic
document examination tools, principles and techniques, it is my professional expert opinion that
a different person authored the name and initials of Tim Odutola the 2 handwritten dates
on the questioned documents. Someone did indeed forge the initials and signature of Tim
Odutola and the 2 handwritten dates on the questioned documents, ‘Q1’, ‘Q2’, ‘Q3’ and
‘Q4’. Tim Odutola did NOT print the 2 handwritten dates, did NOT sign his name and did
NOT author his initials on ‘QI’ through ‘Q4’.

I am willing to testify to this fact in a court of law and I will provide exhibits to the Court
showing that I had sufficient data and that my opinion is correct. My Curriculum Vitae is

attached and incorporated herein by reference.

Respectfully submitted,

 
     
 

Curt Baggett

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The above Letter of Opfhion was sworn and subscribed before me by Curt Baggett this 23
day of _ ~S ep Tem ber , 2021.

 

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County of Dallas Ny
Notary Public —Sfate of Texas

QDE Letter: Tim Odutola
Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 41 of 76

LEGAL DATA

UNITED STATES v. JANET L. THORNTON
Case No. 02-M-9150-01, decided January 24, 2003
This issue is governed by Fed.R.Evid. 702, which states as follows:

If scientific, technical, or other specialized knowledge will assist the trier of fact to understand the
evidence or to determine a fact in issue, a witness qualified as an expert by knowledge, skill,
experience, training, or education, may testify thereto in the form of an opinion or otherwise, if
(1) the testimony is based upon sufficient facts or data, (2) the testimony is the product of reliable
principles and methods, and (3) the witness has applied the principles and methods reliably to the
facts of the case. [This rule was amended in 2000 in response to Daubert v Merrell Dow
Pharmaceuticals, Inc. (1993) and Kumho Tire Co. Ltd. v. Carmichael (1999).]

In Daubert, the court, focusing on the admissibility of scientific expert testimony, held that the tal judge
has the task of ensuring that an expert's testimony both rests on a reliable foundation and is relevant to the
task at hand. In Kumho Tire, the court held that a trial judge's gatekeeping obligation applies not only to
testimony based on scientific knowledge, but also to testimony based on technical and other specialized
knowledge.

Among the studies cited by Mr. Hammond is a study by Professor Sargur Srihari on the individuality of
handwriting. Using handwriting of 1500 individuals, his conclusions were that, using computer software,
they were able to establish with a 98% confidence that the writer can be identified. Taking the results over
the entire population, they were able to validate handwriting individuality with a 96% confidence. By
considering finer features, Professor Srihari opined that they should be able to validate handwriting
individuality with a near 100% confidence. A study by Dr. Moshe Kam indicates that professional
document examiners had only a 6.5% error rate compared to an error rate of 38.3% for nonprofessionals.
Dr. Kam concluded by stating that professional document examiners possess writer identification skills
absent in the general population. Another study by Professor Kam indicated that professionals concluded
that forgeries were genuine 0.49% of the time whereas laypersons did so 6.47% of the ume. Professionals
mistakenly concluded that genuine signatories were forgeries 7.05% of the time; laypersons did so 26.1%
of the time. Another study by Jodi Sita, Brian Found and others found that forensic document examiners
made errors in 3.4% of their opinions, while 19.1% of the control group gave erroneous opinions.

The above studies provide solid evidence that handwriting individuality can be validaied with a very high
degree of corifidence, and that professional forensic document examiners have developed an expertise and
training that allow them to correctly identify a person's handwriting with a much lower error ratc than
laypersons. On the other hand, the affidavit of Dr. Saks raises legitimate questions concerning the validity
of these studies and the accuracy of handwriting identification in general.

However, in Daubert, the U.S. Supreme Court made it clear that "it would be unreasonable to conclude
that the subject of scientific testimony must be known to a certainty; arguably, there are no certainties in
science... . Science .. . represents a process for proposing and refining theoretical explanations about the
world that are subject to further testing and refinement." It is sufficient if the proposed testimony can be
supported by appropriate validation, i.e., good grounds, based on what is known.
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1. Vacation should be given 3 weeks in advance. Subject to on
management approval and AOO approval. hy /.. L

Branch Expectations

2. Doctor visits should be given 3weeks in advance with
adequate staffing. Mondays and Fridays, no appointments
should be scheduled, if at all possible. Subject to management
approval.

3. you are going to be late please text or call management no
later than 15 min before scheduled time.

4. If you are sick please call management after 7:00 am or an
hour before your start time. Please ensure that ALL duties have

been communicated to the proper person.

3. If you need to leave early or come in late, please notify
manager as soon as possible, even if management is not in the
office. This will be subject to management approval. If possible,
please find coverage. This will be your responsibility.

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Odutola v. BB&T

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Progress Update Sheet we
(based on steps of formal coaching) J L s\4
Name: Tim Odutola Date: 03/07/2016
Progress and follow up on action pian since last session: (step 2)

This is a verbal warning. On 11/06/2015, it was communicated to Tim that if an
associate was sick, they would need to call management after 7:00am or an
hour before there start time and let management know the situation. However,
on 03/07/2016 Tim texted ML at 5:10am and said that he was sick and was not
coming in. Tim did not follow the proper procedures as to notify

management.

 

 

 

 

Focus Area: (step 4)
Based on your preparation from reports, list focus for immediate improvement and additional focus

areas for month.
Going forward Tim should call management after 7:00am or an hour before

start time and inform management of illness. If Tim fails to do so, this could
result in an unexcused absence.

 

 

 

 

Create Action Plan - (step 5)
Use focus areas from above, add details (how much, of what, by when), and include your

interaction/support.:

Going forward Tim should follow the procedures of the branch and BB&T. It is
not acceptable to send a text to your ML stating that you are sick. The proper
procedure is to call management and if needed, discuss any arrangements with
associates and clients that might need to take

 

 

 

 

 

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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 44 of 76

 

Progress Update Sheet

(based on steps of formal coaching)
Name: Tim Odutola Date: 12/04/2015
last session: (step 2)

It is regional decision that temporary debit cards should only be issued to
clients that have established an account for 12 months or more.

 

 

 

 

Focus Area for month: (step 4)

Based on your preparation from reports, list focus for immediate improvement and additional focus
areas for month. : _—
Tim was aware of this and on 11-30-2015 he opened a new account for a client

and gave the client a temporary debit card. The client deposited a check for
$880.00 and it was returned. The account is negative $-55.50, due to ATM fees
and NSF fee.

 

 

 

 

Create Action Plan for month: (step 5)

Use focus areas from above, add details (how much, of what, by when), and include your
interaction/support.:

This document stands as a verbal warning. Tim will only give temporary cards
to clients that have established an account for 12 months or more.

 

 

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If Tim has any questions or concerns regarding this regional policy he can
direct them to management.

 

 

 

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Odutola v. BB&T

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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 45 of 76

BB&T

Branch Banking and Trust Company
INTER-BRANCH CORRESPONDENCE

From: Keeya Briscoe To: Tim Odutola

Re: Written Warning- Sercurity Violation/ Exposed Cash

SUBJECT OF WARNING: On Friday, February 18th, during your shift you failed to secure all of your cash at
the teller window. When leaving your teller window, you must lock all drawers and log off your computer, even if
you are just stepping away to use the counter or putting money away in the vault.

As a Branch Banker, you have been trained in policy and procedures for securing cash, maintaining sole control
of your cash, and ensuring that your statlon drawers are empty, coin vaults locked and cash drawer secured in
the vault prior to leaving area. The BOM, section C307, states “Each Teller/8B must keep sole contro! of his/her
cash fund ait all times”. The unsecured, exposed cash was a potential loss to the bank and exposed your
teammates to speculation had the money disappeared.

it is the bank's expectation that you secure all cash, coin, etc. before leaving each day or at any time that you
cannot be directly with your assigned cash.

This written warning Is to ensure you know the importance of securing all cash. | am available to provide you with
additional guidance in the performance of your job. Should you have any questions about this written warning or
about my expectations of your performance, please let me know. You should be aware that further related
performance deficiencies could lead to further disciplinary action, up to and including termination of your
employment.

This written warning will be placed in your file as a reminder of your responsibility to protect the bank from loss by
following policy and procedures when securing your cash and coin.

Associate Comments:

 

 

 

The above has been discussed with me by my supervisor and | understand that a copy of this

memorandum will be placed in my personne! file. | also understand that any further performance

issues will result in further disciplinary action up to and including termination of my employment.

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Date

Associate Date

 

Odutola v. BB&T

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From:

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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 46 of 76

BB&T

Branch Banking and Trust Company
INTER-BRANCH CORRESPONDENCE

Keeya Briscoe To: Tim Odutola

Final Written Warning — Exposed Cash

SUBJECT OF Final Written Warning: You were given a Written Warning on February 18" for
exposure of cash. On Friday, Apri! 8, 2016 during your shift you failed to secure your cash at the teller window.
As a Branch Banker, you have been trained in policy and procedures for securing cash, maintaining
sole control of your cash, and ensuring that your station drawers are empty, coin vaults locked and
cash drawer secured in the vault prior to leaving or walking away. The BOM, section C307, states “Each
BB must keep sole control of his/her cash fund at all times”. The unsecured exposed cash was a
potential loss to the bank and exposed your teammates to speculation had the money disappeared.

it is the bank’s expectation that you secure all cash, coin, etc. before leaving each day or at any time that you
cannot be directly with your assigned cash.

Tim , this is a Final Written Warning is to ensure you know the importance of securing all cash and keys prior to
leaving for the day. | am available to provide you with additional guidance in the performance of your job. Should
you have any questions about this written warning or about my expectations of your performance, please let me
know. You should be aware that further related performance deficiencies could lead to further disciplinary action,
up to and including termination of your employment.

This Fina! Written Warning will be placed in your file as a reminder of your responsibility to protect the bank from
loss by following policy and procedures when securing your cash and coin.

Associate Comments:

 

 

 

The above has been discussed with me by my supervisor and | understand that a copy of this
memorandum will be placed in my personnel file. | also understand that any further performance
issues will result in further disciplinary action up to and including termination of my employment.

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Associate Date rket Leader Date

 
    

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Odutola v. BB&T
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Note: A copy to be maintained by Market Leader and AOO.

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Case 1:21-cv-03212-RBW Document1 Filed 12/08/21 Page 48 of 76

 

 

Progress Update Sheet

Name: Tim Odutola Date: 10/12/2016

Action plan :

This is a verbal warning regarding signature cards in the month of September.
You had 2 outstanding signature cards that have been outstanding for over 30
days. All signature cards should be scanned at account opening. If you get a
scan error, then you should follow the procedures that are in place. Remember
that if you have to send a signature card down you need to get AOO approval.

 

 

 

 

Focus Area for month: (step 4)
Based on your preparation from reports, list focus for immediate improvement and additional focus
areas for month.

Signature cards are very important because they help detect fraud and this is
the only way we can determine that the client authorized the account. All
signatures must be signed by clients at account opening or within 7 days of
account opening. Failure to do so can cause the account to be blocked and this
can impact the client.

 

 

 

 

Create Action Plan for month: (step 5)
Use focus areas from above, add details (how much, of what, by when), and pede your

interaction/support.«
Going forward you must adhere to this operational procedure. Failure to do so

can result in further disciplinary action.

 

 

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Digital Video Snapshot

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Digital Video Snapshot

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Device Station ID: N338881

   
 
 

Odutola v. BB&T
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Transcript of Oluwarotimi Mobalaji Odutola
371

 

Conducted on December 17, 2019
THE REPORTER: Personal, what?
THE WITNESS: Inflictions.

(ber MR. FLOYD:

do have these snapshots, and I don't know how they

I do not have the video, but I

 

-- I don't know how these came to us. I don't know

 

if we have video or not.
\(Ruoasi,) MR.
(Der) MR.

these came

RUDASILL: Surveillance cameras.

FLOYD: Yeah. And I don't know where

from. And I -~ and, James --

 

MR. RUDASILL: The surveillance cameras at
the bank.

Cher) MR. FLOYD:

 

Yeah, I mean, I know they came

 

from the camera, but I'm not sure how we have the

But I don't know if we have the video.

——

 

stills. But

——e_—

I think I told you I came to this case like you,

sort of late in the game. And I have to ask. But
they are, you know, what they are.
(Exhibit 35 was marked for identification
and is attached to the transcript.)
BY MR. FLOYD:
Q So let's just go through them sort of piece

by piece, and what I want to do is have you identify

 

 

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Transcript of Oluwarotimi Mobalaji Odutola
Conducted on December 17, 2019 378

A Yes.

Q All right. And then the next picture it
looks like the back of somebody with a dark suit --

A Yeah, that's me.

Q -- black man -- that's you?

A Uh-huh.

Q Okay. And are you on the way -- it looks
like you're on the way out at this point, right,
because otherwise you're walking backwards?

A I don't know, because I walked to the back
of the teller line to the very back. I don't know
if this is when I came in and I was going --

Q When were you -- what bay were you working
at?

A I was working at this one.

Q The first one right there at the door?

A Yeah. So I don't know if this is when I
came back in or I don't know if this is when I was

going out.

Kruoree> MR. RUDASILL: Based on the time stamp

sequence on the pictures, this is at 10:55:31 and

 

 

14. Yeah, the sequence are backwards. ¢€—
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Transcript of Oluwarotimi Mobalaji Odutola
Conducted on December 17, 2019 379

CmE) -> THE WITNESS: Yeah, that's what I'm saying. <—f
————

 

(DEF) Q So you haven't gone out yet because then

you've got ten -- I see clear pictures of you out at

———

 

 

10:55:46, right, which is later. So James is right

 

and they're going from later to earlier. mK
C verbal ly adi
Q And what is that that you have in your hand

 

 

 

(me )%A Yeah.

there?

A Where, in the window?
Yeah.
I think that's the check.

That's what you have in your hand there?

Fr O YF O

Yeah. The check. I had the check and the
ID.
What's in your other hand, your right hand?

A It had to be the check or the ID, because he
gave it to me like this and I had it like that. And
that's either when I gave it back to him or when I
took it and asked him.

Q Okay. So you have the check in one hand

then something else, it looks like, bigger in the

other hand.

 

   

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Transcript of Oluwarotimi Mobalaji Odutola
Conducted on December 17, 2019

 

 

 

 

 

 

 

1 you were saying, right?

2 A Yes.

3 Q I mean, there's no question she's right

4 there?

5 A She heard -- and she heard the guy say it.

6 Q And it looks to me at 10:56 you're back

7 behind the teller line.

8 A Yes.

9 Q I mean, did you come out behind the teller

10 | line? Is that what they call that?

11 A Yes.

12 Q And I don't know what you're saying there

13} but -- |

14 (me) A I was looking in disbelief. __(miseegeesenbabion) \

15 (Der) Q And then 10:55:33, so that picture is sort

16] of way out of sequence, I guess. And then so then

17 | we're back to -- 10:55:33 both Keeya and Wakettia

18 | are there confronting the guy, right?

19 A 10:55:33, okay.

20 Q So at 10:54, we just see Wakettia. At 10:54

21 we can see Wakettia. But at 10:55:48, 46, 46, 38,

22 | 34, 33 -- that's a different picture at 10:50. So
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ME —>

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Transcript of Oluwarotimi Mobalaji Odutola
Conducted on December 17, 2019 382

 

1 we had two shots of 10:55:33 from different angles

2 and she's out there, right?

3 A The tail end, yes. |
4 THE REPORTER: I'm sorry?

5 THE WITNESS: I'm sorry, at the tail end,

6 yes.

7 Q Seems pretty early to me?
8 A Nah.

9 Q And at 10:55:32 you're on your way out the

10 | door, then, right? 10:55:32.

11 MR. RUDASILL: It looks like Wakettia was

12 | the first one out.

13 THE WITNESS: Yeah, she was.

14 Q But Keeya is out there by the time -- you're
15 | on your way out the door at 10:55:32, which is No.
16] 505. You're on your way out the door, and a second
17 | later, you know, it doesn't show you out the door
18 | yet but does show that Keeya is standing there with
19 | Wakettia?
20 Cre) A That's not accurate.

21 |(pet) Q It isn't? What's not accurate about it?

22 Cine) A That's not accurate.

 

 

 

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Hccive Plant , Defer JAnev we hae not seen vide® yet.
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Transcript of Oluwarotimi Mobalaji Odutola

Conducted on December 17, 2019 383

 

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Me —S 9g

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22

(dEMo What do you think, this has been , — using games
fraudulently dated and time changed or something?
(me) A That's not accurate because it -- nah.

(DEF 2 Looks to me that's what's going on. You can

correct me if you want, but that's what it looks to

me. I think that this could be solved more readily

W with the video if you get a chance to get that.

(me ) A These are chopped up and out of sequence.

 

 

(deF) Q But even when we look at them in sequence,
the timing, it shows that Keeya is there early even
before you're out?

A Uh-huh.

OF) © Even before you're out from behind there,
which you claim you were going out to get your
manager. Your manager is already standing there
talking to the suspect?

(me) A No. She came -- she clearly came at the
end. I saw her when she came out the office.

DEF) Q It's not clear in those video pictures.

(mE) A That's what I said, I want to see the video.

 

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These are pictures. I mean, this was just pictures
with dates on them. I don't -- and if that's the
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>.

Jackie T. Meier, Esq. <jmeier@meier-law.com>
To: Tim Odutola <timodutola@gmail.com>

Pug Gmail Tim Odutola <timodutola@gmail.com>

Docs REVIEW

9 messages

Tim Odutola <timodutola@gmail.com> Mon, Apr 29, 2019 at 7:18 PM
To: "Jackie T. Meier, Esq.” <jmeier@meier-law.com>

Jackie,
| was able to briefly look over the documents today while | was printing them all out.

| was very disappointed in what they sent me. They sent a complete waste of stuff. They omitted all pertinent information
and provided pseudo documents to make me look bad or try at least. The performance reports had changed dates on
them and they didn't send the actual data showing my performance. The pictures are off and not in order and missing

“parts (done on purpose) To say the least they honestly believe and think that | am as dumb as them if they think that |
would accept this. | have never been humiliated like this before. Jackie, as you know this is the most important part of my
case. There is No way that this should occur.

| will go through the documents between tonight and wed when we get the rest. | am 100% sure that we will be
DEMANDING more docs and | WILL BE SPECIFIC. Whatever we need to do to get the right info needs to done before
we discuss a deposition date.

Again, | will take a closer look and find what is missing over the next few days. | sincerely look forward to speaking with
you by Wednesday.

Have a good evening.

 
  

     

Tue, Apr 30, 2019 at 7:50 AM

wa

Tim

Spun Ti hing ror ee RETESET EH TOIT ive It ores. typical»

1 already gave them the dates you told me on Friday you were free for a deposition. | can tell them you're no longer free
those days, but then they'll just subpoena you, and don't count on them producing any more documents promptly or
without some effort. Also, keep in mind you have an obligation to be deposed, if they wish to depose you. It’s not your
choice. And hopefully they will depose you because it will give you a chance to tell some of your story.

AS | said before, you won't be getting documents on Wednesday. They agreed to produce documents around
Wednesday. Then it will take time for me to get them and then for you to get them.

PS. You didn't tell me you had so many unfavorable reviews. That's not exactly making my job easier! And | did
previously suggest we try to settle the case. Recall you didn’t want to...

Regards,

Jackie T. Meier, Esq.

The Meier Law Firm

1101 Connecticut Ave., NW
Suite 450

Washington, DC 20036
Tel.: (202) 450-7466
www.meier-law.com

[Quoted text hidden]

Tim Odutola <timodutola@gmail.com> Tue, Apr 30, 2019 at 10:44 AM
To: “Jackie T. Meier, Esq." <jmeier@meier-law.com>

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Case 1:21-cv-032 ERB cutee 1 Filed 12/08/21 Page 71 of 76

THE MEIER LAW FIRM
Jackie T. Meier- Attorney
1101 Connecticut Ave., NW, Suite 450
Washington, DC 20036
Tel. (202) 450-7466
jmeier@meier-law.com
www.meier-law.com

By E-mail and U.S. Mail

Oluwarotimi Odutola
4908 Georgia Avenue, NW
Washington, DC 20011

By email to timodutola@gmail.com
December 10, 2019

Re: The Meier Law Firm v. Oluwarotimi Odutola
D.C. Superior Court Case No.: 2019 SC3 005579

Mr. Odutola:

Please find enclosed a copy of Judge Rahkel Bouchet’s December 3, 2019, Order in this case,
awarding Plaintiff The Meier Law Firm $9,133.79 in the above-captioned case.

Additionally, as the Order states, Plaintiff is entitled to interest and costs. Plaintiff's costs in this
case are $408.57, and interest is accruing from December 3, 2019 at the statutory rate of 2%
per annum. Thus, the total amount you owe Plaintiff is currently $9,542.36.

Please contact me immediately to arrange payment of the $9,133.79 judgment, interest and
costs, by check made out to The Meier Law Firm or to Jackie T. Meier, Esq., at the above
address. Thank you very much.

Very truly yours,

OKAY T. Mex,

“nal
Jackie T. Meier, Esq.

 

Encl.
expe etos2y2&kBw Document 1 Filed 12/08/21 Page 72 of 76

Gabriela Romo, LCPC
Licensed Clinical Professionai Counselor

 

Gabriela Romo, LCPC
4445 Willard Ave, Suite 600
Chevy Chase, MD 20815

March 22nd 2019
Te Whom It May Concer:
|, Gabriela Romo, as Licensed Clinical Professional Counselor in the Staie of Maryland (license
LC6800), hereby inform that Mr. Odutola Oluwarotim (DOB: 03/18/1985) received mental health
counseling from me on February 13th 2019 for an hour. At that time, he was diagnosed with

F43.10 Posttraumatic Stress Disorder (F4310).

If you have any questions, please do not hesitate fo contact me at 202-320-4601 or at
gaby@gabrielarome.com

Kind regards,

    

Approved
LO6800

www. gabrielaromo.cem

 
Bett €l-03228BW Document Filed 12/08/21 Page 73 of 76

Clients’ Names: Oluwarotim Odutola Session 1 Date: 02/13/2019 9.00 am

Demographics:
(Client is black American from African background, 33 years oid, single, tall, and works as personal wealth management
for a private Bank. He lives in NW Washington, DC.

Subjective:

Client reported to be secking counseling to deal with symptoms of PTSD, anxiety, depression, and feeling paranoid. He
takes clonazepam for anxiety since he was diagnosed in June 2018 by Psychiatrist Dr. Radu. He explained that ever
since he had problems in his previous job, he developed these diagnoses. The work related problems included fecling
discriminated by his supervisor at the beginning which led to working in a hostile environment and repetitive
confrontations with her. He also described incidents in which his supervisor attempted to get him fired and arguments
with her because he refused to break rules and corporate policies. Moreover, he reported an incident where a customer
- threatened to kill him, in which his supervisor was not supportive, did not allow him to get off work earlier, and
prevented him to report the incident to the police. Although eventually he reported it, client expressed he felt powerless
— and fearful, making him to believe that probably his supervisor was behind it. Client reported that he then made sevcral
attempts to report his supervisor’s treatment to HR without any success. Client was fired in November, after being in
admin leave. In the meantimc, his bank account got frozen, got delayed im his financial responsibilitics (c.g., rent),
landlord sued him, cventually became homeless, and developed symptoms of anxiety and depression. He described
ongoing symptoms including avoidance, arousal, cognitive and mood changes. Client lacks emotional support in part
because he disclosed fecling ashamcd with his family and friends for the problems at work and its consequences,
avoiding conversations, people, and activities. Client reported that he has a new job but his mental health is impairing
him to function well, as he is sleep deprived, anxious, and mistrustful. This is turn serves as a reminder of the stressful
situation. at work and how things developed. Clicnt said that he has alrcady met with a lawyer to explore sug. Overall,
client said that he finds difficulty in trusting pcople, his self esteem got damaged, and often he has repeated memories
of the incidents described, feeling very distressed and upset. He worrics about his professional career and his mental
health.

Objective:

The client arrived a few minutes before his scheduled session. As interviewed during the session, he was Sucid,
oriented, and made good eye contact. His general appearance was good, he was well dressed in a business attire. His
speech, motor activity, intellect, and judgment were normal. He spoke in a normal tone of voicc, was cooperative in his
responses and his posture was normal. His mood was nervous and anxious and his affect was consistent. Client was
suggestcd to continue meeting with his psychiatrist and offered to do tele mental health counseling sessions if mecting
in person was challenging for him. At the time of the interview he denied having suicidal ideation, visual or auditory
haliucinations and denied any past history of mental health disorders.

Assessment:

Clicnt sccms to have been negatively affected by the relationship with his former supervisor, the hostile environment,

and death threat that took place in his workplace. These events led to getting in debt, losing his job, and becoming

homeless. Lacking resources, support, and coping mechanisms to manage the stress and the traumatic cxpcricnce, client

developed post trauma and low-mood related symptoms. He cvidenced having difficulty on dealing with shame and

fear. He mistrusts others, is guarded, and fears to be victim of other similar incidents. He meets the criteria of the

diagnosis of Posttraumatic Stress Disorder. In re to Depression, insufficicnt mformation was provided to make a formal
’ diagnosis of current symptoms.

Plan:

Action plan: No scssion was scheduled for next visit yet. Continue evaluating client, building rapport and trust.
Provide tools to ease symptoms. Trauma-Informed Approach.

Ginics ene /

Licenscd Clinital Professional Counselor, (LC6800)

  

 
Case L:21-evFEHAY Tooth 1 Filed 12/08/21 Page 74 of 76

COPE

incorporated

June 5, 2018

Mr. Oluwarotimi M. Odutola
4908 Georgia Avenue, NW
Washington DC 20011

Dear Mr. Odutola:

This letter is In response to your request for information In your flle with COPE, Inc., an
Employee Assistance Program (EAP) provider In Washington OC.

You were referred to COPE, Inc. by MHN, the behavioral health subsidiary of Health Net, Inc.
MHN is the EAP for your former employer BB&T. MHN contacted COPE to request affil
services for you under authorization code 14362280. COPE was authorized to see

three sessions. os

 
 
  
     
  
  
  
     
    
 
 
 
 
 
 
 
 
  
 
  
  
  

You voluntarily contacted COPE, Inc. on 10/21/2016, requesting an appointment |
anxiety, feelings of paranoia and trouble sleeping. An appointment was
November 11, 2016 by which time COPE had received the necessary pa
authorization from MHN to proceed. During the initia! session, you rep
EAP due to a conflict with your manager and having been placed on-
without an explanation.

You reported that you had been working at the same BB&T branch location
one year and for the same supervisor. Further, although you maintal

relationship with your supervisor, you felt her behavior towards You W
intruslve. Specifically, she asked many questions about your persona
not seem relevant to the job. Despite the discomfort you felt from
reported that you had been a top performer at the bank and got

and customers,

On or around the end of October, 2016, you described a situatic |
sent you to another branch to help out. Despite company pollcy tha

employee to be onsite, you were told, by your supervisor, to re
her request by complying with this company policy. You sai
placed in this compromising situation by your supervisor, -

Several days later, an angry bank customer threatened to foll
felt your supervisor failed to provide the support you needed
incident. Nor did you feel supported by the Human Reso
shortly thereafter you were placed on leave without an «
you felt It necessary to contact a lawyer and began to ex
sadness, low energy, anger, panic attacks and the inabilit

}O'2 14th Suwer NW, Suite 1105 » Washington, DC 200 In
Oork place counselin

fax: 202,628,511) * e-mall: eap@cope-inc

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Case 1:21-cv-03212-RBWe EMAL FRe?12/08/21 Page 75 of 76

You attended the following sessions at COPE using your MHN health insurance to address ms
emotional and professional Impact of being placed on leave:

* November 1, 2016
« November 8, 2016
* November 15, 2016

     
   
 
    
  
  
 
 
    

At the end of the three authorized sessions, COPE provided four referrals
so that you could continue to receive support. On November 29", —
followed-up with you. You responded by email on December 2, and sta
been terminated. You stated you were angry that you were UnARIS

COPE.

Please contact me if you have any further questions at 202-62

Sincerely,

J :

Helene W. King Ph.D.

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DEF.

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(citing Ramirez v. Dep't of Justice, 680 F.Supp.2d 208, 210 (D.D.C. 2010)) (explaining that

prejudice requires “the movant [to] show that the misconduct foreclosed full and fair preparation

 

or presentation of its case” (internal quotation marks omitted)).

 

Here, Plaintiff fails to demonstrate how Defendant’s counsel in anyway engaged in fraud,

misrepresentation, or misconduct that resulted in Plaintiff’s failure to appear for a scheduling
hearing or respond to the Court’s Order to Show Cause. Rather, Plaintiff spends many pages
making unsupported, outrageous and untrue allegations concerning Defendant’s and Defendant’s
counsel’s conduct during the course of discovery and Plaintiff’s deposition, which has no bearing
whatsoever on his failure to appear for a status conference, failure to respond to a motion to show
cause, or even his failure generally to prosecute his case.
Plaintiff makes numerous false claims of fraud, misrepresentation, fabrication or alteration
and/or forgery of documents against Defendant and Defendant’s counsel. Indeed, Plaintiff goes
so far as to allege that he had certain documents and video evidence examined by a forensic
examiner, but he failed to provide any report or evidence of these findings. Despite the false and
outrageous nature of Plaintiff’s allegations, he also failed to provide a single supporting affidavit.
These serious and false allegation are all without a single shred of evidence or other support beyond
Plaintiff’s on speculation, conspiracy theories and conjecture. See Walsh, 10 F.Supp.3d 15, 20
(denying Rule 60(b)(3) relief where plaintiff failed to present clear and convincing evidence of
misconduct and relied on conjecture and unsupported assertions).

Furthermore, Plaintiff fails to show actual prejudice. There is no indication that
Defendant’s or Defendant’s counsel's statements, even if false, prevented Plaintiff from
developing his case fully and fairly, or more importantly, attending court-ordered conferences or

responding to the Court’s Orders. Plaintiff has not been a passive participant in this case. Indeed

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